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                                                                        . ..             DE?I:?l'   C!.EfJ,X
                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF MONTANA

                                  GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,
                                                       II       No. CR-07-03-GPSEH

 VS.                                                            ACCEPTANCE OF PLEA OF
                                                                GUILTY, ADJUDICATION OF
 MICHELLE DINEEN MERRY,                                         GUILT AND NOTICE OF
                                                                SENTENCING
                               Defendant.

       In accordance with the Findings and Recommendations of the United States Magistrate

Judge Keith Strong, to which there has been no objection, and subject to this Court's

consideration of the Plea Agreement under Fed. R. Crim. P. 1l(c)(3), the plea of guilty of the

Defendant to Count I of the Superseding Indictment is hereby accepted. The Defendant is

adjudged guilty of such offense. All parties shall appear before this Court for sentencing as

directed.                                       j




       IT IS SO ORDERED this        d       a       y of March, 2007.




                                                       N    S M E . HADDON
                                                            United States District Judge
                                                                                                                   T.
